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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA

WILMER CUTLER PICKERING HALE AND DORR LLP,
                           Plaintiff,
             v.
EXECUTIVE OFFICE OF THE PRESIDENT, U.S.
DEPARTMENT OF JUSTICE, U.S. DEPARTMENT OF
DEFENSE, U.S. DEPARTMENT OF HEALTH AND
HUMAN SERVICES, U.S. DEPARTMENT OF
EDUCATION, U.S. DEPARTMENT OF VETERANS
AFFAIRS, OFFICE OF MANAGEMENT AND BUDGET,
OFFICE OF THE DIRECTOR OF NATIONAL
INTELLIGENCE, CENTRAL INTELLIGENCE AGENCY,
ENVIRONMENTAL PROTECTION AGENCY,
DEPARTMENT OF HOMELAND SECURITY,
DEPARTMENT OF STATE, DEPARTMENT OF ENERGY,
DEPARTMENT OF THE TREASURY, DEPARTMENT OF
LABOR, DEPARTMENT OF AGRICULTURE,
DEPARTMENT OF COMMERCE, DEPARTMENT OF                          Case No. 1:25-cv-917
HOUSING AND URBAN DEVELOPMENT, SMALL
BUSINESS ADMINISTRATION, OFFICE OF THE U.S.                    IMMEDIATE ORAL
TRADE REPRESENTATIVE, DEPARTMENT OF THE                        HEARING
INTERIOR, DEPARTMENT OF TRANSPORTATION,                        REQUESTED
SECURITIES AND EXCHANGE COMMISSION,
FEDERAL TRADE COMMISSION, U.S. PATENT AND
TRADEMARK OFFICE, EQUAL EMPLOYMENT
OPPORTUNITY COMMISSION, THE UNITED STATES
OF AMERICA, and, in their official capacities, PAMELA J.
BONDI, PETE HEGSETH, ROBERT F. KENNEDY, JR.,
LINDA M. MCMAHON, DOUGLAS A. COLLINS,
RUSSELL T. VOUGHT, TULSI GABBARD, JOHN L.
RATCLIFFE, LEE M. ZELDIN, KRISTI NOEM, MARCO
RUBIO, CHRIS WRIGHT, SCOTT BESSENT, LORI
CHAVEZ-DEREMER, BROOKE L. ROLLINS, HOWARD
LUTNICK, SCOTT TURNER, KELLY LOEFFLER,
JAMIESON GREER, DOUG BURGUM, SEAN DUFFY,
MARK T. UYEDA, ANDREW N. FERGUSON, COKE
MORGAN STEWART, ANDREA R. LUCAS,
                           Defendants.


       PLAINTIFF’S MOTION FOR A TEMPORARY RESTRAINING ORDER AND
                        PRELIMINARY INJUNCTION
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       Pursuant to Rule 65 of the Federal Rules of Civil Procedure and Local Civil Rule 65.1,

plaintiff Wilmer Cutler Pickering Hale and Dorr LLP (“WilmerHale” or the “Firm”) moves for the

immediate entry today of the proposed temporary restraining order (“TRO”) filed herewith,

enjoining the implementation or enforcement of any provision of the directive issued by the

President on March 27, 2025, entitled “Addressing Risks from WilmerHale” (the “Order”). If the

Court concludes that an oral hearing is warranted prior to entering this TRO, undersigned counsel

is available to participate in such a hearing at any time today.

       WilmerHale respectfully requests that the Court enter an order stating that:

       (1)     Defendants are enjoined from implementing or giving effect to the Order in any

               way, including by relying on any of the statements in §1;

       (2)     Defendants are directed to rescind any and all guidance or direction that has already

               issued that relates to implementing or enforcing the Order;

       (3)     Defendants are directed to immediately issue guidance to their officers, staff,

               employees, and contractors to disregard the Order and carry on with their ordinary

               course of business as if the Order had never issued;

       (4)     Defendants U.S. Department of Justice; Pamela Bondi, in her official capacity as

               U.S. Attorney General; the Office of Management and Budget; and Russell Vought,

               in his official capacity as Director of the Office of Management and Budget, are

               directed to immediately issue guidance to all other agencies subject to the Order to

               suspend and rescind any implementation or enforcement; and

       (5)     Defendants are directed to take, in good faith, any other steps that are necessary to

               prevent the implementation or enforcement of the Order.
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       WilmerHale also requests that the Court order Defendants to show cause why a preliminary

(or permanent) injunction should not issue and enter a merits briefing schedule at least as expedited

as the schedule presently underway in Perkins Coie LLP v. U.S. Department of Justice, No. 1:25-

cv-716 (D.D.C. Mar. 14, 2025), Dkt.26. WilmerHale is prepared to proceed with a schedule under

which dispositive briefing will be completed by April 18, as ordered in Perkins Coie.

       Finally, WilmerHale respectfully requests that the Court dispense with the security

requirement referenced in Federal Rule of Civil Procedure 65(c), pursuant to its “broad discretion”

to determine whether an injunction bond is appropriate. E.g., Council on Am.-Islamic Rels. v.

Gaubatz, 667 F.Supp.2d 67, 81 (D.D.C. 2009). District courts can and should “dispense with any

security requirement whatsoever” when, as here, “the restraint will do the defendant no material

damage” and “there has been no proof of likelihood of harm.” Am. First Legal Found. v. Becerra,

2024 WL 3741402, at *16 n.11 (D.D.C. Aug. 9, 2024) (quoting Fed. Prescription Serv., Inc. v.

Am. Pharm. Ass’n, 636 F.2d 755, 759 (D.C. Cir. 1980)).

       The grounds for this motion are set forth in the attached memorandum of law and its

supporting declarations and exhibits. A proposed order and a certification of compliance with

Local Civil Rule 65.1 are attached hereto.




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March 28, 2025                           Respectfully submitted,

                                         /s/ Paul D. Clement
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                                         Pickering Hale and Dorr LLP




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